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AUTHORITY


                     IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF ALASKA


 ALASKA INDUSTRIAL                         )
 DEVELOPMENT AND EXPORT                    )
 AUTHORITY,                                )
                                           )
                Plaintiffs,                )
                                           )
          vs.
                                           )
 U.S. DEPARTMENT OF THE                    )
 INTERIOR,                                 )
                                           )     Case No.: CaseNumber
                Defendants.                )
                                           )
                                           )


                                     COMPLAINT

          COMES NOW Plaintiff, Alaska Industrial Development and Export Authority

(“AIDEA”), by and through undersigned counsel, hereby brings this civil action

under the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552, against the above-

listed Defendant, the United States Department of the Interior (“DOI”) for

declaratory and injunctive relief. Plaintiff alleges as follows:
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                                 INTRODUCTION

          1.   In December 2022, AIDEA sent a FOIA request (“First Request”) to

DOI seeking records related to how senior government officials developed

environmental policy that      will directly affect    AIDEA’s    commercial and

conservational interests. The First Request concerned two projects in northern

Alaska: (a) oil and gas development of the Coastal Plain of the Arctic National

Wildlife Refuge (“ANWR” and “ANWR Coastal Plain”) and (b) the Ambler Road.

AIDEA is the project proponent for the Ambler Road project and is (or was) the

major leaseholder in the ANWR Coastal Plain Project.

          2.   On November 21, 2023, AIDEA sent amended FOIA requests

(“Amended Requests”) relating to materials held by DOI to the following DOI

components: Office of the Secretary; Bureau of Land Management (“BLM”); and

the Fish and Wildlife Service. The Amended Requests revised the First Request

after AIDEA consulted with the Anchorage Office of Regional Solicitor, Interior.

          3.   To date, the Amended Requests issued to DOI have not received a

timely determination, nor has any of the DOI components which received the

Amended Requests produced the requested records. AIDEA by this lawsuit asks

that the Court measure FOIA deadlines from the date of the Amended Requests,

not the earlier dates of the First Request. Even with the benefit of that extra time,

DOI has come nowhere close to meeting the deadlines set forth in FOIA for

agencies to make determination on FOIA requests.


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                                 PARTIES

          4.   Plaintiff AIDEA is a public corporation of the State of Alaska. AIDEA

was established to provide financing for Alaskan businesses to expand the

economy of the state and provide jobs for Alaska. AIDEA’s mission is helping

finance businesses, diversify the economy of Alaska, and create jobs for Alaskans.

AIDEA accomplishes its mission through various means of financing and by

facilitating the financing of businesses in Alaska. Additionally, AIDEA has the

ability to own and operate facilities that advance this goal.

          5.   Defendant DOI is an agency as defined under 5 U.S.C. § 552(f)(1).

DOI includes BLM, the Fish and Wildlife Service, and the Office of the Secretary.

DOI and its components have possession, custody, and control of records to which

AIDEA seeks access and that are the subject of this Compliant.

                           JURISDICTION AND VENUE

          6.   Jurisdiction is asserted pursuant to 25 U.S.C. § 1331 and 5 U.S.C. §

552(a)(4)(B).

          7.   Venue is proper pursuant to 28 U.S.C. § 552(a)(B).

                                 BACKGROUND

                  Oil and Gas Leases in the ANWR Coastal Plain

          8.   The “Coastal Plain” refers to an extensive oil and gas program area

located in the far north of the Arctic National Wildlife Refuge in Alaska. The Arctic

National Wildlife Refuge is administered by DOI through both the Fish and Wildlife

Service and BLM. The Fish and Wildlife Service manages most activities on the
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Refuge while BLM participates in decision-making concerning oil and gas matters,

including implementation of the Tax Act, P.L. 115-97, § 20001. DOI’s Office of the

Secretary is the headquarters office that oversees these and other DOI

components.

          9.    In the Tax Cut and Jobs Act of 2017, P.L. 115-97, § 20001 (“Tax Act”),

Congress required the Secretary of the Interior, via BLM, to “establish and

administer a competitive oil and gas program for the leasing, development,

production, and transportation of oil and gas in and from the Coastal Plain.” Tax

Act, § 20001(a)(2), (b)(2).

          10.   In addition, Congress directed the Secretary to “manage the oil and

gas program on the Coastal Plain in a manner similar to the administration of lease

sales under the Naval Petroleum Reserves Production Act of 1976 (42 U.S.C.

6501 et seq.) (including regulations),”id. § 20001(b)(3), and to “conduct not fewer

than 2 lease sales area-wide under the oil and gas program under this section by

not later than 10 years after the date of the enactment of this Act.” Id. §

20001(c)(1)(A). The first of these two lease sales was to be completed within four

years of the date of enactment, which would be by the end of 2021.               Id. §

20001(c)(1)(B)(ii)(I).

          11.   Once the bid process was completed, BLM issued leases for nine

tracts of land, to comply with the Tax Act’s requirement that DOI offer at least

400,000 acres of the Coastal Plain for lease by December, 2021. AIDEA was the


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successful bidder for the majority of the leases and entered into seven oil and gas

lease-agreements with DOI for ten-year terms on tracts within the Coastal Plain.

          12.     On the first day of his presidency, President Biden issued Executive

Order No. 13990. This executive order directed Interior to “place a temporary

moratorium on all activities of the Federal Government relating to the

implementation of the Coastal Plain Oil and Gas Leasing Program” and to conduct

a new environmental impact analysis of the program. Exec. Order No. 13990, §

49(a), 86 Fed. Reg. 7037, 7039 (Jan. 25, 2021).

          13.     Due to this executive order, BLM suspended the awarded oil and gas

leases in the Coastal Plain and initiated the preparation of a supplemental

environmental impact statement. On September 6, 2023, BLM notified the public

that it had completed a draft of that statement, which it published in the Federal

Register two days later. Notice of Availability of the Draft Coastal Plain Oil and Gas

Leasing Program Supplemental Environmental Impact Statement, 88 Fed. Reg.

62104 (Sept. 8, 2023). AIDEA filed timely comments on this document.

          14.     Also on September 6, 2023, DOI announced that the Secretary of the

Interior had decided to cancel all of AIDEA’s leases, which were all of the awarded

oil and gas leases in the Coastal Plain that had been issued pursuant to the 2021

sale that had not already been voluntarily surrendered by the lessees. See DOI

Press Release, Biden-Harris Administration Takes Major Steps to Protect Arctic

Lands           and   Wildlife   in   Alaska   (Sept.    6,   2023),    available   at

https://www.doi.gov/pressreleases/biden-harrisadministration-takes-major-steps-
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protect-arctic-lands-and-wildlife-alaska.   DOI Secretary Haaland explained the

decision to cancel AIDEA’s leases in remarks to the press given that day.1 AIDEA

through the Amended Requests is seeking documents concerning DOI’s decision-

making regarding the ANWR Coastal Plain oil and gas project.

                            Ambler Road Development

          15.   This FOIA matter also concerns the Ambler Road project. Section

201(4)(b) of the Alaska Native Interest Lands Conservation Act (“ANILCA”)

declares that Congress recognizes a “need for access for surface transportation

purposes” congruent with the right-of-way proposed “across the Western (Kobuk

River) unit of the Gates of the Arctic National Preserve.” Section 201 explains

further that Congress determined it was in the public interest to build a road from

the Pipeline Haul Road (a/k/a the Dalton Highway) to the Amber Mining District,

meaning the road would cross additional federal lands, as well as Gates of the

Arctic National Preserve.

          16.   Consistent with this provision, in June 2016, AIDEA submitted an

application for the Ambler Mining District Industrial Access Project (“Ambler Road”)

for the construction and operation of an all-season controlled-access industrial

road connecting the Ambler Mining District with the Dalton Highway; 26 of Ambler



1
  The Secretary’s remarks are available at:
https://www.npr.org/2023/09/06/1197945859/anwr-alaska-drilling-oil-gas-leases-
environment-energy-climate-
change#:%7E:text=The%20administration%20is%20required%20to,lease%20sal
e%20by%20December%202024
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Road’s approximately 200 miles are located within the Gates of the Arctic National

Preserve (“GAAR”). Other segments of the proposed route cross other federal

land managed by BLM.

          17.   DOI and its components were required to evaluate the application in

accordance with § 201(4) of ANILCA and any other applicable law.

          18.   In April 2020, BLM entered into a Section 106 Programmatic

Agreement with the Alaska State Historic Preservation Officer and Advisory

Council on Historic Preservation, in accordance with Section 106 of National

Historic Preservation Act of 1966 (NHPA), as amended (54 USC 300101 et seq.),

which requires federal agencies to take into account effects on historic properties

and afford the Advisory Council on Historic Preservation (ACHP) a reasonable

opportunity to comment, prior to any qualifying federal authorization or qualifying

expenditure of federal funds. The Programmatic Agreement memorialized the

standards and conditions BLM would enforce and execute in order to comply with

the parties to the agreement. AIDEA also executed the Programmatic Agreement.

          19.   Additionally, another DOI component, the National Park Service

(NPS), in cooperation with the U.S. Department of Transportation, Federal

Highway Administration, prepared an environmental and economic analysis (EEA)

in lieu of an environmental impact statement in accordance with ANILCA Section

201(4) and the implementing regulations. The EEA identified AIDEA’s proposed

route as the preferred route for the Project.


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          20.   In a July 2020 Joint Record of Decision by the Secretaries of the

Interior and Transportation, the agencies adopted the recommendation of the EEA

and granted AIDEA’s request for the 26-mile right-of-way through GAAR, along

with a right-of-way for route portions outside GAAR that crossed federal lands

managed by BLM.

          21.   Plaintiffs opposing the Ambler Road filed lawsuits for judicial review

in the U.S. District Court of Alaska in the Northern Alaska Environmental Council

v. Haaland, Case No. 3:20-cv-187-SLG and Alatna Village Council v. Heinlein,

Case 3:20-cv-253-SLG D. Alaska 2020).

          22.   After the Biden Administration took over the defense of the case from

the Trump Administration, the federal agencies filed a motion for voluntary remand

in February 2022, stating that at least some aspect of their earlier approvals of the

rights-of-way may have been erroneous. The federal agencies then suspended

the rights-of-way in March 2022 and proceeded to announce an environmental re-

assessment, citing deficiencies within the previous EEA and Joint Record of

Decision.

          23.   In September 2022, BLM published a Notice in the Federal Register

seeking comments on the “scope” of the environmental re-assessment it would

conduct and recently received public comments it will then consider before making

a final decision on remand. In October, 2023, BLM published in the Federal

Register a Notice of Availability of the Ambler Road Draft Supplemental

Environmental Impact Statement, Alaska, 88 Fed.Reg. 72532 (Oct. 20, 2023)
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(“Ambler Road Draft SEIS”). AIDEA filed timely comments on the Ambler Road

Draft SEIS.

          24.   AIDEA through the Amended Requests under FOIA seeks documents

pertaining to DOI’s decision-making on the Ambler Road project,

                                        FACTS

          25.   By letter, dated December 30, 2022, AIDEA submitted the First

Request via www.foiaonline.gov/ online portal to BLM.2

          26.   In July 2023, BLM requested that AIDEA revise and narrow the scope

of its First Request. Thereafter, AIDEA consulted with the Anchorage Office of

Regional Solicitor to prepare the Amended Request.

          27.   As a result, on November 21, 2023, AIDEA issued a copy of the

Amended Request to each of the following: Department of Interior, Office of the

Secretary; BLM; and the Fish and Wildlife Service. Exhibit 1A, 1B, and 1C.

          28.   Among other amendments, AIDEA narrowed the scope of the

document requested.

          29.   AIDEA further indicated in the Amended Request that it sought “to

work with the agency to ensure efficient and reasonable production of responsive

documents.” Id.




2
       The First Request was submitted by AIDEA’s former counsel Holland & Hart.
Representation was subsequently transferred to Birch Horton Bittner & Cherot who
then issued the Amended Request on behalf of AIDEA.
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          30.   In the Amended Request, AIDEA cited 5 U.S.C. § 552(a)(6)(A)(i), to

assert that the Interior’s (or its component’s) “[f]ailure to comply with statutory

timelines may result in…litigation to ensure timely receipt of the requested

records.” Id.

                          AIDEA’s November 21, 2023 FOIA
                                  Request to BLM

          31.   On November 28, 2023, BLM issued a letter confirming receipt of the

Amended Request dated November 21, 2023. Moreover, BLM, by email, updated

the status of AIDEA’s request to “Received” on November 28, 2023. The letter

and email assigned a tracking number for the Amended Request:                  DOI-

BLM002024-000171. Exhibit 2.

          32.   On November 28, 2023, AIDEA received an email update from BLM

confirming the Amended Request had been assigned for processing.

          33.   To date, BLM has failed to produce any records in response to the

Amended Request.

          34.   Pursuant to 5 U.S.C. § 552(a)(6)(A)(i), the date by which the agency

should have made a final determination on the Amended Request to BLM was

December 16, 2023.




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                  AIDEA’s November 21, 2023 FOIA Request to the
                  Department of the Interior, Office of the Secretary

          35.   By email, on November 21, 2023, the Office of the Secretary

confirmed receipt of the Amended Request and changed the status of the request

to “Received.” On November 30, 2023, the Office of the Secretary sent a letter to

AIDEA confirming receipt of the Amended Request. The letter assigned a tracking

number for the Amended Request: DOI-OS-2024-000083. Exhibit 3.

          36.   The Office of Secretary’s November 30, 2023 letter also included a

small portion of the releasable requests (records relating to numbered request 14).

Exhibit 3. The interim response included an Excel spreadsheet detailing active

litigation and 797 pages of records. The interim response identified several FOIA

exemptions related to the Amended Request.3

          37.   Because this was an interim response, the Office of the Secretary, in

the interim response letter, Exhibit 3, stated it “will provide notice of [AIDEA’S]

appeal rights in our final response letter.”4 No timeframe for the issuance of the

final response letter was identified in the interim response letter.

          38.   To date, no such final response letter has been received by AIDEA.




3
     The interim response concluded that Exemption 5 (5 U.S.C § 552(b)(5)) and
Exemption 6 (5 U.S.C § 552(b)(6)) applied to the Amended Request and
responses provided.
4
          See Exhibit 3 at pg. 12.
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                      AIDEA’s November 21, 2023 FOIA Request to
                             the Fish and Wildlife Service

          39.    By email, on November 21, 2023, the Fish and Wildlife Service

updated         the   status   of   the   Amended   Request   to   “Received.”     On

December 20, 2023, the Fish and Wildlife Service issued a letter acknowledging

receipt of the Amended Request dated November 21, 2023. The Fish and Wildlife

Service assigned a tracking number to the request: DOI-FWS-2024-000130.

Exhibit 4.

          40.    Pursuant to the letter dated December 20, 2023, the Fish and Wildlife

Service indicated it had “gathered the responsive material and conducted an initial

survey to identify the quantity and nature of the records” but had “not reached a

final decision on whether responsive material is exempt from release.” Id.

          41.    To date, AIDEA has not received any further updates from the Fish

and Wildlife Service regarding the Amended Request or a determination as to any

applicable exemptions related to the Amended Request.

          42.    Pursuant to 5 U.S.C. § 552(a)(6)(A)(i), the date by which the agency

should have made a final determination on the Amended Request to the Fish and

Wildlife Service was December 21, 2023.




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                                      COUNT I

    Violation of the FOIA: Failure to Comply with Statutory Requirements

          43.   AIDEA incorporates all of the above paragraphs.

          44.   The FOIA requires an agency to accept and process any request for

access to agency records that (a) “reasonably describes such records,” and (b) “is

made in accordance with published rules stating the time, place, fees,…and

procedures to be followed[.]” 5 U.S.C. § 552(a)(3)(A).

          45.   The FOIA further requires an agency to respond to a valid request

within 20 business days or, in “unusual circumstances,” within 30 days. Id. §

552(a)(6)(A)-(B). If an agency requires additional time to process a request, the

FOIA mandates it provide the requester with “an opportunity to arrange…an

alternative time frame for processing the request[.]” Id. § 552(a)(6)(B)(ii); see 43

C.F.R. §§ 2.16, 2.19.

          46.   The “receipt” of a FOIA request triggers an agency’s obligation to

respond and therefore starts the countdown for all relevant statutory deadlines.

5 U.S.C. § 552(a)(6)(A)(i); see, e.g. McGehee v. Cent. Intelligence Agency, 697

F.2d 1095, 1110 (D.C. Cir. 1983) (“[W]hen an agency receives a FOIA request…it

must take responsibility for processing the request.”); see also 43 C.F.R. § 2.16(a).

          47.   AIDEA’s FOIA requests seek access to agency records maintained

by three DOI components: (1) BLM, (2) the Fish and Wildlife Service, and (3) DOI’s

Office of the Secretary. The requests reasonably describe the records sought and

comply with the FOIA and applicable agency regulations. They were properly
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submitted to and received by BLM, the Fish and Wildlife Service, and DOI’s Office

of the Secretary, even after first amending the FOIA request upon receiving advice

from the Anchorage Office of Regional Solicitor.

          48.   BLM received AIDEA’s valid request on November 28, 2023.

Determinations on this request was due by December 26, 2023.

          49.   The Office of the Secretary received AIDEA’s valid request on

November 21, 2023. Determinations on this request was due by December 21,

2023.

          50.   The Fish and Wildlife Service received AIDEA’s valid request on

November 21, 2023. Determinations on this request was due by December 21,

2023.

          51.   BLM has failed to issue a determination on or produced agency

records responsive to AIDEA’s requests within the applicable statutory time limits.

          52.   The Office of the Secretary has issued an interim response via interim

response letter, redacted productions, and Excel spreadsheet, but has failed to

issue the final response letter as indicated by the Office of the Secretary.

          53.   The Fish and Wildlife Service has failed to issue a determination

within the applicable statutory time limits regarding the application of any

exemptions.

          54.   AIDEA is harmed by the violation of the FOIA by BLM, the Fish and

Wildlife Service, and Interior’s Office of the Secretary and their unlawful

withholding of responsive agency records to which AIDEA is statutorily entitled.
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          55.   AIDEA will continue to be harmed until such time as BLM, the Fish

and Wildlife Service, and Interior’s Office of the Secretary are compelled to satisfy

their obligations under the FOIA.

          56.   AIDEA has exhausted its administrative remedies under 5 U.S.C. §

552(a)(6)(C).

                                PRAYER FOR RELIEF

          WHEREFORE, Plaintiff AIDEA respectfully requests and prays that this

Court:

          a.    Order BLM, the Fish and Wildlife Service, and Interior’s Office of the

Secretary to process AIDEA’s FOIA request and issue determinations upon the

issuance of the Order;

          b.    Order BLM, the Fish and Wildlife Service, and Interior’s Office of the

Secretary promptly to produce all non-exempt agency records responsive to

AIDEA’s FOIA requests;

          c.    Maintain jurisdiction over this case until BLM, the Fish and Wildlife

Service, and Interior’s Office of the Secretary comply with the Order and, if

applicable, adequately justify their treatment of all relevant records;

          d.    Award AIDEA its costs and reasonable attorney fees incurred here

pursuant to 5 U.S.C. § 552(a)(4)(E); and

          e.    Grant such other relief as the Court may deem just and proper.




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          DATED this 1st day of April, 2024.



                                    BIRCH HORTON BITTNER & CHEROT
                                    Attorneys for Plaintiffs ALASKA INDUSTRIAL
                                    DEVELOPMENT AND EXPORT AUTHORITY


                                    By: /s/ James Lister
                                        James Lister, ABA #1611111
                                        D. Joseph Towslee, Jr., ABA #2402016




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